CaSe: 2209-Cr-00054-.]LG-TPK DOC #Z 149 Filed: 04/22/15 Page: l Of l PAGE|D #Z 594

r\O 24'? [Rev. ll)'l l] Oi'der Rega.rdi.ng t\-iolion for Scnk:nee Reduction Pursuant to lS U.S.C. § 3582{€](2) l‘age t ot`?. (Page£ Not forl’uhiie Disciosu.rc)

UNITED STATES DISTRICT COURT

for the

Southern District of Ohio

United States oi" Amcrica

 

 

v. l
) 2‘09
- . -cr-054 1
Danie| Vance Wa||s ) Case N°‘ (. .) __
) USM NO: 67901-061
Date of` Original Judgment: _0?)'01;‘2010 )
Date of` Previous Amended Judginent: _ __ ) gordon HObSOf\. ESQ_. _ _
fU_\'e Dm'e o_'ft'.n,\'f .~lrnended Judgmen.' {f.'ln,\‘) !Jt’fendon.' `.r .'l.'.'r)rm’_t'

0RDER REGARD\NG MoTIoN FoR SENTENCE REI)UCTION
PURSUANT T0 18 U.s.C. § 3582(¢)(2)

Upon motion of |z| the defendant I:l the Director of the Bureau of` Prisons l:l thc court under 18 U.S.C.

§ 3582(c)(2) [`or a reduction in the term of` imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement Set forth at USSG §lB l . l 0
and the sentencing Factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,

IT IS ORDERED that the motion is:
DENIED. -GRANTED and the defendant"s previously imposed sentence of imprisonment ms .»~t;!h»<rn»d m
the msrji.rdgmcm .-`.vsned) of 110 _ _ months is reduced to 97 months on Counts 1 §§ __

(G)mpa"e!e Prn'.r.\' 1 and H ofPage 2 when motion is _H.f'onred) to be SeNed Concurrently

Except as otherwise provided, all provisions ofllie judgment dated 97@1/_2_010 _ shall remain in effect.
lT lS 50 ORDERED.

Order Date: _¢/ZZ/[j:_ __ _ _,_% \7 -:‘f‘/'_ ___
/ " .)'m ge ss:'gnn:nre

Ef{ccli\,c Daw; 11!01)'2015 Gregory L. Frost. U.S. District .Judge
(:f_dij€‘eremfr;n_order dore) -

 

Pr'r`med name and title

